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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA,
                    Plaintiff,
                                                                  CIVIL ACTION
         v.                                                       NO. 19-2327

    BARLEY N HOPS, LLC dba LAURY’S
    STATION BEVERAGE,
                     Defendant.


                                             ORDER

        AND NOW, this 13th day of February, 2020, it is ORDERED that Plaintiff

United States of America’s Motion for a default judgment (ECF No. 6) is DENIED

without prejudice. Because it appears that Plaintiff’s claim is for “a sum that can be

made certain by computation,” Plaintiff is directed to refile its motion as a “request” for

a default judgment with an affidavit showing the amount due consistent with Federal

Rule of Civil Procedure 55(b)(1).1

                                                      BY THE COURT:



                                                      /s/ Gerald J. Pappert
                                                      GERALD J. PAPPERT, J.




1       See also United States District Court for the Eastern District of Pennsylvania Clerk’s Office
Procedural Handbook (September 18, 2018),
http://www.paed.uscourts.gov/documents/handbook/handbook.pdf, at p. 37 (“If the amount requested
in the complaint differs from that requested in the proposed judgment, the affidavit of amount due
should explain the discrepancy.”).
